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Attorneys for Plaintiff Apple Inc. Fj | e@ d
MAR 2 0 2o12
UNITED STATES DISTRICT COURT | RICHARD W. WI
NORTHERY bist DISTRICT couRT
NORTHERN DISTRICT OF CALIFORNIA SAN Jose CALIFORNIA
SAN JOSE DIVISION
APPLE INC., a California corporation,
Plaintiff,
v. CASE NO. 12-cv-00630-LHK
SAMSUNG ELECTRONICS CO., LTD., a APPLICATION FOR ADMISSION OF
Korean corporation; SAMSUNG ATTORNEY PRO HAC VICE

ELECTRONICS AMERICA, INC., a New
York corporation; and SAMSUNG
TELECOMMUNICATIONS AMERICA,
LLC, a Delaware limited liability company,

Defendants.

Pursuant to Civil L.R. 11-3, Mark N. Reiter, an active member in good standing of the bar of
Texas, hereby applies to admission to practice in the Northern District of California on a pro hac vice
basis representing Plaintiff Apple Inc. in the above-entitled action.
In support of this application, I certify on oath that:
1. I am an active member in good standing of a United States Court or of the highest
court of another State or the District of Columbia, as indicated above:
2. I agree to abide by the Standards of Professional Conduct set forth in Civil Local Rule

11-4, to comply with General Order No. 45, Electronic Case F iling, and to become

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1 familiar with the Local Rules and the Alternative Dispute Resolution programs of this
2 Court; and,
3 3. An attorney who is a member of the bar of this Court in good standing and who
4 maintains an office within the State of California has been designated as counsel in the
5 above-entitled action. The name, address, and telephone number of that attorney is:
6 H. Mark Lyon, Esq., Gibson Dunn & Crutcher, 1881 Page Mill Road, Palo Alto, CA
7 94304-1211(650) 849-5300; MLyon@gibsondunn.com; California Bar No. 162061.
8
9 I declare under penalty of perjury that the fore going is true and :

10

11 Dated: March/& 2012 Qe Z (te Zs

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Crutcher LLP

